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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

SECURITIES AND EXCHANGE COMMISSION,                           )
                                                              )
        Plaintiff,                                            ) Civil Action No. 5-22-cv- I I 4-C
                                                              )
                                                              )
                                                              )
BORON CAPITAL, LLC,                                           ) JURY TRIAL DEMANDED
BC HOLDINGS 2017, LLC,                                        )
UNITED BNB FUND 2018, LLC, and                                )
BLAKE ROBERT TEMPLETON,                                       )
                                                              )
       Defendants.                                            )
                                                              )

             FINAL JUDGMENT AS TO DEFENDANT BLAKE TEMPLETON

       The Securities and Exchange Commission having filed a Complaint and Defendant Blake

Templeton having entered a general appearance; consented to the Court's jurisdiction over

Defendant and the subject mafier ofthis action; consented to entry of this Final Judgment

without admitting or denfng the allegations of the Complaint (except as to jurisdiction and

except as otherwise provided herein in paragraph VI); waived findings of fact and conclusions of

law; and waived any right to appeal from this Final Judgment:

                                                  I.

       IT Is HEREBy ORDERED, ADJUDGED, AND DECREED that Defendant is permanently

restrained and enjoined from violating, directly or indirectly, Section 10(b) of the Securities

Exchange Act of 1934 (the "Exchange Act")      [5 U.S.C. $ 78j(b)] and Rule l0b-5 promulgated
thereunder [17 C.F.R. $ 240.10b-5], by using any means or instrumentality of interstate

commerce, or ofthe mails, or ofany facility ofany national securities exchange, in connection

with the purchase or sale of any security:
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        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to make any untrue statement of a material fact or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances

                under which they were made, not misleading; or

        (c)     to engage in any act, practice, or course ofbusiness which operates or would

                operate as a fraud or deceit upon any person.

        IT IS FURTHER ORDERED, ADruDcED, AND DEcREED that, as provided in Federal

Rule of Civil Procedure 65(dX2), the foregoing paragraph also binds the following who receive

actual notice ofthis Final Judgment by personal service or otherwise: (a) Defendant's officers,

agents, servants, employees, and attomeys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                 II.

        Ir Is HEREBY FURTHER ORDERED, ADTDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

(the "Securities Act") [15 U.S.C. $ 77q(a)] in the offer or sale ofany security by the use ofany

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements

                made, in light of the circumstances under which they were made, not misleading;

                or




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       (c)     to engage in any transaction, practice, or course ofbusiness which operates or

               would operate as a fraud or deceit upon the purchaser.

       IT IS FURTHER ORDERED, AoruDcED, AND DEcREED that, as provided in Federal

Rule of Civil Procedure 65(dX2), the foregoing paragraph also binds the following who receive

actual notice ofthis Final Judgment by personal service or otherwise: (a) Defendant's officers,

agents, servants, employees, and attomeys; and (b) other persons in active concert or

panicipation with Defendant or with anyone described in (a).

                                                 m.

       IT Is HEREBY FURTHER ORDERED, ADJTTDcED, AND DECREED that Defendant is

pennanently restrained and enjoined from violating Section 5 ofthe Securities Act [15 U.S.C. $

77elby, directly or indirectly, in the absence ofany applicable exemption:

       (a)     Unless a registration statement is in effect as to a security, making use ofany

               means or instruments of transportation or communication in interstate commerce

               or ofthe mails to sell such security through the use or medium ofany prospectus

               or otherwise;

       (b)     Unless a registration statement is in effect as to a security, carrying or causing to

               be carried through the mails or in interstate commerce, by any means or

               instruments of transportation, any such security for the purpose ofsale or for

               delivery after sale; or

       (c)     Making use of any means or instruments of transportation or communication in

               interstate commerce or of the mails to offer to sell or offer to buy through the use

               or medium ofany prospectus or otherwise any security, unless a registration

               statement has been filed with the Commission as to such security, or while the
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               registration statement is the subject of a refusal order or stop order or (prior to the

               effective date ofthe registration statement) any public proceeding or examination

               under Section 8 of the Securities Act [5 U.S.C. g 77h].

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED thar, as provided in Federal

Rule of Civil Procedure 65(dX2), the foregoing paragraph also binds the following who receive

actual notice ofthis Final Judgment by personal service or otherwise: (a) Defendant's officers,

agents, servants, employees, and attomeys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                 IV.

        IT Is HEREBY FURTHER ORDERED, ADTDGED, AND DECREED that Defendant is liable

for a civil penalty in the amount of$223,229 pursuant to Section 20(d) ofthe Securities Act and

Section 2l(d)(3) ofthe Exchange Act [15 U.S.C. $$ 77(d) and 78u(d)(3)]. Defendant shall

satisff this obligation by paying $223,229 to the Securities and Exchange Commission within 30

days after entry of this Final Judgment.

        Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

h                           ffices/ofm.htm. Defendant may also pay by certified check, bank

cashier's check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

        Enterprise Services Center
        Accounts Receivable Branch
        6500 South MacArthur Boulevard
        oklahoma City, oK 73 169




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 and shall be accompanied by a letter identiSing the case title, civil action number, and name of

this Court; Blake Templeton as a defendant in this action; and specifiing that payment is made

pursuant to this Final Judgment.

        Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifuing information to the Commission's counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be retumed to Defendant.

        The Commission may enforce the Court's judgment for penalties by the use of all

collection procedures authorized by law, including the Federal Debt Collection Procedures Act,

28 U.S.C. $ 3001 et se4., and moving for civil contempt for the violation ofany Court orders

issued in this action. Defendant shall pay post judgment interest on any amounts due after 30

days of the entry of this Final Judgment pursuant to 28 U.S.C. $ 1961. The Commission shall

hold the lunds, together with any interest and income eamed thereon (collectively, the "Fund"),

pending further order of the Court.

        The Commission may propose a plan to distribute the Fund subject to the Court's

approval. Such a plan may provide that the Fund shall be distributed pursuant to the Fair Fund

provisions ofSection 308(a) ofthe Sarbanes-Oxley Act of 2002. The Court shall retain

jurisdiction over the administration ofany distribution ofthe Fund and the Fund may only be

disbursed pursuant to an Order ofthe Court.

        Regardless of whether any such Fair Fund distribution is made, amounts ordered to be

paid as civil penalties pursuant to this Judgment shall be treated as penalties paid to the

govemment for all purposes, including all tax purposes. To preserve the deterrent effect of the

civil penalty, Defendant shall not argue that he is entitled to, nor shall he further benefit by,



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offset or reduction ofsuch compensatory damages award by the amount ofany part of

Defendant's payment ofa civil penalty in this action ("Penalty Offset"). Ifthe court in any

Related Investor Action grants such a Penalty Offset, Defendant shall, within 30 days after entry

ofa final order granting the Penalty Offset, notifr the Commission's counsel in this action and

pay the amount of the Penalty Offset to the United Stales Treasury or to a Fair Fund, as the

Commission directs. Such a payment shall not be deemed an additional civil penalty and shall

not be deemed to change the amount of the civil penalty imposed in this Judgment. For purposes

of this paragraph, a "Related Investor Action" means a private damages action brought against

Defendant by or on behalfofone or more investors based on substantially the same facts as

alleged in the Complaint in this action.

                                                V.

       IT Is FURTHER ORDERED, ADTDGED, AND DECREED that the Consent is incorporated

herein with the same force and effect as if fully set forth herein, and that Defendant shalt comply

with all ofthe undertakings and agreements set forth therein.

                                                VI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 1l U.S.C. $523, the

allegations in the complaint are true and admitted by Defendant, and further, any debt for civil

penalty or other amounts due by Defendant under this Final Judgment or any otherjudgment,

order, consent order, decree or settlement agreement entered in connection with this proceeding,

is a debt for the violation by Defendant ofthe federal securities laws or any regulation or order

issued under such laws, as set forth in Section 523(a)(19) ofthe Bankruptcy Code, I I U.S.C.

$523(aXle).



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                                                VII.

       IT Is FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes ofenforcing the terms of this Final Judgment.

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        Signed this   & day ofFebruary,2024,


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                                                       OR            STATES         TzuCT JUDGE



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